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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
Civ. Action No. 1:23-cv-00981-LJV

MICHAEL J. HALLMARK,

Plaintiff,

TAKATA CORPORATION, TK
HOLDINGS, INC., AMERICAN HONDA
MOTOR CO., INC., HONDA OF AMERICA
MFG., INC., WEST HERR AUTO GROUP,
WEST HERR DOE DEFENDANTS 1-3,

Defendants.

STIPULATION OF DISMISSAL WITHOUT PREJUDICE

The Plaintiff, MICHAEL J. HALLMARK (“Plaintiff’) in the above-entitled matter,
pursuant to the provisions of the Federal Rules of Civil Procedure 41(a)(1)(A)(i), hereby stipulates
and agrees that said action against the Defendants, American Honda Motor Co., Inc., and Takata
Corporation, TK Hoidings, Inc. be dismissed, without prejudice, and with each party to bear its

own attorney's fees and costs.

Respectfully submitted,

MICHAEL J. HALLMARK, pro se

Michael J. Hallmark

53 Denise Drive,

Cheektowaga, NY 14227

E-Mail: MJHallmark@yahoo.com

